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                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND


CONSUMER FINANCIAL PROTECTION
BUREAU,


          Plaintiff
                                                                             Case No. 1:16-CV-03759-ELH
v.

CHARLES E. SMITH, LLC, et al.,


          Defendants


                                                            ORDER

          Upon consideration of the parties’ Joint Motion to Extend the Scheduling Order, it is this

____ day of December, 2019, by the United States District Court for the District of Maryland,

hereby

          ORDERED that the parties’ Joint to Extend the Scheduling Order be and hereby is

GRANTED; that the filing of the Joint Motion to Extend the Scheduling Order shall not operate

as a waiver of Defendants’ Joint Motion for a Stay of Proceedings (ECF No. 113) or the

Bureau’s opposition to that Motion, which remains under consideration, and it is further

          ORDERED that the following are the applicable dates in the Scheduling Order and that:

Defendants’ Responses to Bureau’s Request for Admissions                                   January 10, 2020

Bureau’s Motion for Summary Judgment                                                       January 10, 2020

Defendants’ Cross-Motions for Summary Judgment/Oppositions to January 31, 2020
Bureau’s Motions

Bureau’s Opposition to the Cross-Motions and Reply                                         February 21, 2020

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Defendants’ Replies to the Bureau’s Opposition                       March 13, 2020



Any dates not reflected above remain unchanged.



                                           __________________________________________
                                           Judge Ellen L. Hollander
                                           U.S. District Court for the District of Maryland


Copies to: All counsel of record




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